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  9                            UNITED STATES BANKRUPTCY COURT
 10              NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
 11    In re                                              )   Case No. 16-31325 HLB
                                                          )
 12                                                       )   Chapter 11
       WRAP MEDIA, LLC,
                                                          )
 13                                                       )
                            Debtor.                       )
 14    In re                                              )
                                                          )
 15                                                       )   Case No. 16-31326 HLB
       WRAP MEDIA, INC.,
                                                          )
 16                                                       )   Chapter 11
                            Debtor.                       )
 17                                                       )
        ___ Affects LLC                                   )   Date:    March 2, 2017
 18                                                       )   Time:    11:00 a.m.
        ___ Affects Inc.
                                                          )   Judge:   Hon. Hannah L. Blumenstiel
 19      X Affects BOTH DEBTORS                           )   Court:   17
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        RESPONSE OF CREDITOR SILICON VALLEY BANK TO DEBTORS’ CONTINUED
 21
               MOTION FOR USE OF CASH COLLATERAL AND BORROWING MOTION
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  1             Creditor Silicon Valley Bank (“SVB”) 1, as a creditor and not on behalf of the Committee,

  2     hereby reserves its right to oppose Debtors’ pending Motion for Use of Cash Collateral [Doc.

  3     No. 7] and Borrowing Motion [Doc. No. 8] (the “Financing Motions”).

  4             Debtors’ Status Report [Doc. No. 103] references a change in Debtors’ strategy for

  5     navigating its Chapter 11 proceeding, and also references a Proposed Budget which is not

  6     attached. Moreover, Debtors’ pending application to employ Carr & Ferrell [Doc. No. 104] does

  7     not set forth, among other things, (a) the attorneys at Carr & Ferrell who are anticipated to act as

  8     corporate counsel in the sale of technology (and billings rates therefore cannot be ascertained),

  9     and (b) whether the Debtors intend to pay Carr & Ferrell during the course of the bankruptcy
 10     proceeding. Without such information, SVB cannot determine whether Debtors' strategy, budget
 11     and proposed timeline to a sale represents a sensible approach to the case that SVB would
 12     support.
 13
        DATED: February 23, 2017                          LEO D. PLOTKIN
 14                                                       JOHN P. MITTELBACH
 15                                                       LEVY, SMALL & LALLAS
                                                          A Partnership Including Professional Corporations
 16
                                                          By: /s/Leo D. Plotkin
 17
                                                                     LEO D. PLOTKIN
 18                                                       Attorneys for Secured Creditors
                                                          SILICON VALLEY BANK
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         SVB holds a first-priority security interest in all of Debtors’ assets with the exception of its
 28    intellectual property (except to the extent that SVB does hold a first-priority adequate protection
       lien secured by Debtors’ intellectual property). SVB believes that it is substantially under
       secured and has been appointed to the Unsecured Creditors’ Committee (the “Committee”).
                                                         1
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